
RPDG, LLC, Appellant, 
againstAlexander Kuravsky and Valeria Novak, Respondents, and "John Doe" and "Jane Doe," Undertenants.



Appeal from a final judgment of the Civil Court of the City of New York, Kings County (Kevin C. McClanahan, J.), entered March 10, 2015. The final judgment, entered pursuant to a decision of the same court dated March 4, 2014, after a nonjury trial, dismissed the petition.




ORDERED that, on the court's own motion, the notice of appeal from the decision dated March 4, 2014 is deemed a premature notice of appeal from the final judgment entered March 10, 2015 (see CPLR 5520 [c]); and it is further,
ORDERED that the final judgment is affirmed, without costs.
In this holdover proceeding predicated, insofar as is relevant to this appeal, on a claim that tenant, Alexander Kuravsky, violated his lease by harboring a dog without landlord's consent, the Civil Court dismissed the petition after a nonjury trial, finding that landlord's failure to commence the proceeding within three months of learning of the dog's presence in the subject apartment constituted a waiver of landlord's right to enforce the no-pet provision of the lease (Administrative Code of the City of New York § 27-2009.1; see also Seward Park Hous. Corp. v Cohen, 287 AD2d 157, 162-163 [2001]; Toledo Mut. Hous. Corp. v Schwartz, 33 Misc 3d 58 [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2011]). As the Civil Court's determination is supported by the record, the final judgment is affirmed. 
Weston, J.P., Aliotta and Elliot, JJ., concur. 
Decision Date: May 12, 2016










